     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 1 of 23




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


T.L., a minor child, by and through
his Parents and Natural Guardians,                Case No:       13-CV-2739 (SRN/JJG)
B.A.P. and M.R.L.,

              Plaintiffs,                                  DEFENDANTS’
                                                     MEMORANDUM OF LAW IN
                                                   SUPPORT OF RULE 12 MOTION
v.                                                         TO DISMISS


Minnesota State High School League David
Stead, individually and in his official capacity,
Shakopee Public Schools, John Bezak individually
and in his official capacity, and John Janke,
individually and in his official capacity,

              Defendants.



                                    INTRODUCTION

       The instant case is a student discipline dispute between Defendant Shakopee

Public Schools (“Shakopee” or “SHS”) and a student of the same. The Complaint fails to

allege that the Minnesota State High School League (the “League” or “MSHSL”) did do,

is doing, or will do anything relevant to Plaintiff’s claims. Plaintiff has failed to allege a

plausible claim against the MSHSL in general, and has failed to allege facts showing that

the MSHSL is threatening a future injury in fact sufficient to justify prospective relief in

equity. As such, Plaintiff’s claims against the MSHSL and David Stead must be

dismissed.



                                              1
     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 2 of 23



                                         FACTS

       The Complaint describes a disciplinary matter between Shakopee and one of its

students. T.L. was suspended from participating in the SHS football program for the 2013

season for behavior including, but not limited to:

          1. Swearing at the football coach and the Activities Director;
          2. Slamming and breaking the door to the Athletic Conference Room;
          3. Not being cooperative during meetings on August 24 and August 26,
             2013; and
          4. Threatening to harm members of the football team.

Compl. Ex. A. Shakopee notified Plaintiffs via correspondence dated August 29, 2013,

that T.L. “is not eligible to participate in the School District’s football program this

school year” because his behavior “violate[d] School District rules, specifically the

prohibitions against verbal abuse involving staff, damage to school property and

disruptive behavior.” Compl. Attachment A. The above-described behavior coupled with

three prior athletic suspensions led to Shakopee’s determination that T.L. was “not in

good standing” and therefore not eligible to participate in the school’s football program

for the 2013-2014 school year. Id.

       MSHSL Bylaw 206.1 defines good standing to “mean that the student is eligible

under of all [sic] the conditions and eligibility requirements of that school as well as the

eligibility requirements of the Minnesota State High School League.” Affidavit of David

Stead, Ex. A, p. 35 (emphasis added). Bylaw 206.2 sets forth the League’s Student Code

of Responsibilities, which provides that students “will respect the rights and beliefs of

others and will treat others with courtesy and consideration”; “will be fully responsible



                                             2
     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 3 of 23



for [their] own actions and the consequences of [those] actions”; “will respect the

property of others’; “will respect and obey the rules of my school and the laws of my

community, state, and country”; and “will show respect to those who are responsible for

enforcing the rules of my school and the laws of my community, state and country.” Id.

The “Penalty” provision of Bylaw 206 provides that a student who violates the Code of

Responsibilities is not in good standing is “ineligible for a period of time as determined

by the school principal.” Id. (emphasis added). John Bezak, “as Assistant Superintendent,

and in consultation and agreement with the High School Principal and Activities

Director,” determined that T.L. violated “School District rules,” was not in good

standing, and was therefore “not eligible to participate in the School District’s football

program this school year.” Compl. Ex. A.

       Because the school district determines its “school’s eligibility requirements for the

student,” Shakopee’s decision was not subject to the League’s Fair Hearing Procedures.

See Stead Aff. Ex. B, p. 47. Neither the Minnesota State High School League nor David

Stead has taken any action in this matter.

                                         ISSUES

   1. Whether the Complaint should be dismissed for failure to state a claim upon which
      relief can be granted?

   2. Whether Plaintiff has alleged an imminent injury in fact that may be redressed by
      prospective relief in equity?




                                             3
     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 4 of 23



                                      ARGUMENT

       When considering a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the court

generally must ignore materials outside the pleadings, but it may consider materials that

are part of the public record or do not contradict the complaint, as well as materials that

are necessarily embraced by the pleadings. Porous Media Corp. v. Pall Corp., 186 F.3d

1077, 1079 (8th Cir. 1999); see also Illig v. Union Elec. Co., 652 F.3d 971, 976 (8th Cir.

2011). Accordingly, while courts primarily consider the allegations in the complaint in

determining whether to grant a Rule 12(b)(6) motion, courts additionally consider

“matters incorporated by reference or integral to the claim, items subject to judicial

notice, matters of public record, orders, items appearing in the record of the case, and

exhibits attached to the complaint whose authenticity is unquestioned;” without

converting the motion into one for summary judgment under Rule 12(d). Miller v.

Redwood Toxicology Lab., Inc., 688 F.3d 928, 931 n.3 (8th Cir. 2012) (citing 5B Charles

Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1357 (3d ed. 2004)).

       The Court must grant a Rule 12(b)(6) motion to dismiss for failure to state a claim

if the plaintiff “cannot prove any set of facts in support of the claim which would entitle

him to relief.” Stone Motor Co. v. General Motors Corp., 293 F.3d 456, 464 (8th Cir.

2002). The Supreme Court has emphasized that even under the liberal pleading standard

of Rule 8, a complaint must contain “enough facts to state a claim to relief that is

plausible on its face.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007). Although a complaint need not contain



                                            4
     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 5 of 23



“detailed factual allegations,” it must contain facts with enough specificity “to raise a

right to relief above the speculative level.” Iqbal, 129 S. Ct. at 1964-65. "The threadbare

recitals of the elements of a cause of action, supported by mere conclusory statements,"

will not pass muster. Id. at 1949 (citing Twombly, 550 U.S. at 555). Accordingly, a

plaintiff must provide more than labels and conclusions.

       Determining whether a complaint states a plausible claim for relief is a “context-

specific task that requires the reviewing court to draw on its judicial experience and

common sense.” Iqbal, 129 S. Ct. at 1950 (citation omitted). “[W]here the well-pleaded

facts do not permit the court to infer more than the mere possibility of misconduct, the

complaint has alleged – but it has not ‘show[n]’ – ‘that the pleader is entitled to relief.’”

Id. (citing Fed. R. Civ. P. 8(a)(2)). “[T]he pleading standard Rule 8 announces does not

require 'detailed factual allegations,' but it demands more than an unadorned, the-

defendant-unlawfully-harmed-me accusation." Iqbal, 129 S. Ct. at 1949 (quoting

Twombly, 550 U.S. at 555).

I.     PLAINTIFF HAS FAILED TO ALLEGE A PLAUSIBLE CLAIM FOR RELIEF AGAINST
       THE MSHSL OR DAVID STEAD.

       Defendants MSHSL and David Stead are named parties in Counts One, Five, and

Six. See Compl., pp. 25-27. The remaining Counts Two, Three, Four, and Seven are

exclusively against Defendant Shakopee Schools and are therefore not included in this

motion. Id. With regard to the MSHSL and Mr. Stead, Plaintiffs ask this Court for a

declaratory judgment “that students in Minnesota have a constitutionally protected right

to be eligible and participate in varsity athletics”; that the League deprived T.L. of due


                                             5
     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 6 of 23



process; that students have a right to legal counsel in school-related disciplinary

proceedings and that the League somehow denied that right; and that “league Bylaw

206.00 is vague and does not give adequate public notice or due process.” Compl., pp.

27-28.

         Plaintiffs have not alleged, and cannot prove, any set of facts to state a plausible

claim of relief against the MSHSL and Mr. Stead because students do not have a

constitutionally-protected property or liberty interest in participating in varsity athletics;

the League took no action against T.L. and could not have denied any due process; and

Bylaw 206, approved by the League’s Representative Assembly in 1991 with adequate

public notice, is not vague or overbroad. Accordingly, Counts One, Five, and Six against

the MSHSL and Mr. Stead should be dismissed.

         A.     Plaintiff does not have a constitutionally protected right to participate
                in varsity athletics and therefore Counts One and Five have not raised
                a right to relief.

         In order to raise a due process claim, a plaintiff must show a protected property or

liberty interest has been implicated by the defendants. Bishop v. Tice, 622 F.2d 349, 353

(8th Cir. 1980). Plaintiff cannot show that T.L. has a constitutionally protected property or

liberty interest in eligibility for interscholastic athletics, let alone varsity athletics.

Accordingly, Counts One and Five should be dismissed.

         When determining whether students have a protected property or liberty interest in

interscholastic athletics, the overwhelming majority of the Federal Circuits, 1 Federal


1
 See Cornerstone Christian Schs v. Univ. Interscholastic League, 563 F.3d 127, 136-37
(5th Cir. 2009) (citing Walsh v. La. High Sch. Athletic Ass’n, 616 F.2d 152, 159 (5th Cir.

                                              6
     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 7 of 23



District Courts, 2 and state courts 3 have rejected arguments that interscholastic athletics

are protected under either the U.S. Constitution or the respective state constitution. This


1980); Angstadt v. Midd-West Sch. Dist., 377 F.3d 338, 344 (3d Cir. 2004); Seamons v.
Snow, 84 F.3d 1226, 1235 (10th Cir. 1996); Davenport ex rel. Davenport v. Randolph
Cnty. Bd. of Educ., 730 F.2d 1395, 1397 (11th Cir. 1984); Hamilton v. Tenn. Secondary
Sch. Athletic Ass’n, 552 F.2d 681, 682 (6th Cir. 1976); see also Hebert v. Ventetuolo, 638
F.2d 5 (1st Cir. 1981).
2
  See Dominic J. v. Wyo. Valley W. High Sch., 362 F.Supp.2d 560, 572 (M.D. Penn.
2005); Jeffrey v. Bd. of Trs. of the Bells ISD, 261 F. Supp. 2d 719, 726 (E.D. Tex.
2003); Smith v. Chippewa Falls Area Unified Sch. Dist., 302 F. Supp. 2d 953, 957 (W.D.
Wis. 2002); Wooten v. Pleasant Hope R-VI Sch. Dist., 139 F. Supp. 2d 835, 842 (W.D.
Mo. 2000); Farver v. Bd. of Educ. of Carroll County, 40 F.Supp.2d 323, 334 (D. Md.
1999); Mazevski v. Horseheads Cent. Sch. Dist., 950 F. Supp. 69, 72-3 (W.D.N.Y.
1997); McFarlin, 784 F. Supp. at 592; Giannattasio v. Stamford Youth Hockey Ass’n,
Inc., 621 F. Supp. 825, 829 (D. Conn. 1985); Justice v. NCAA, 577 F. Supp. 356, 366 (D.
Ariz. 1983); Brands v. Sheldon Community Sch., 671 F. Supp. 627, 630 (N.D. Iowa
1987); Park Hills Music Club, Inc. v. Board of Education, 512 F. Supp. 1040, 1043 (S.D.
Ohio 1981); Williams v. Hamilton, 497 F. Supp. 641, 645 (D.N.H. 1980); Pegram v.
Nelson, 469 F. Supp. 1134, 1140 (M.D.N.C. 1979); Ward v. Robinson, 496 F. Supp. 1, 1-
2 (E.D. Tenn. 1978); Fluitt v. University of Nebraska, 489 F. Supp. 1194, 1202-03 (D.
Neb. 1980); Kulovitz v. Illinois High School Association, 462 F. Supp. 875, 877-78 (N.D.
Ill. 1978); Taylor v. Alabama High School Athletic Association, 336 F. Supp. 54, 57
(M.D. Ala. 1972); Paschal v. Perdue, 320 F. Supp. 1274, 1276 (S.D. Fla. 1970).
3
  See Ventetuolo, 638 F.2d at 6 (“under Rhode Island law, there is no property right to
play interscholastic sports”); Scott v. Kilpatrick, 237 So. 2d 652, 656 (Ala. 1970); Ryan v.
Cal. Interscholastic Fed’n — San Diego Section, 114 Cal. Rptr. 2d 798, 808 (Cal. Ct.
App. 2001) (“Neither the California Constitution nor California statutory law contains
any provision that entitles students to an absolute right to participate in extracurricular
activities and, precisely, in interscholastic athletics.”); L.P.M. and J.D.T. v. Sch. Bd of
Seminole County, 753 So.2d 130 (Fla. Dist. Ct. App. 2000); Smith v. Crim, 240 S.E.2d
884, 886 (Ga. 1977); Jordan, 706 N.E.2d 137; Ind. High School Ath. Ass’n v. Carlberg,
694 N.E.2d 222, 241-42 (Ind. 1997); Chabert v. Louisiana High School Athletic
Association, 312 So.2d 343, 345 (La. App. 1975); Mancuso v. Mass. Interscholastic
Athletic Ass’n, Inc., 900 N.E.2d 518 (Mass. 2009) (no property or liberty interest under
Massachusetts Constitution in participating in extracurricular activities); Berschback v.
Grosse Pointe Pub. Sch. Dist., 397 N.W.2d 234, 243 (Mich. Ct. App. 1986); Mississippi
H.S. Activities v. Coleman, 631 So.2d 768, 774 (Miss. 1994); State ex rel. Missouri State
High School Activities Association v. Schoenlaub, 507 S.W.2d 354, 359 (Mo.
1974); Caso v. New York State Public High School Athletic Association, 78 A.D.2d 41,
46 (1980); Menke v. Ohio High School Athletic Association, 441 N.E.2d 620, 624

                                             7
     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 8 of 23



list includes the 8th Circuit, which has determined that “a student’s interest in

participating in . . . interscholastic athletics amounts to a mere expectation rather than a

constitutionally protected claim of entitlement, . . . falls outside the protection of due

process.” In Re U.S. ex rel. Missouri State High Sch., et al., 682 F.2d 147, 153 fn.8 (8th

Cir. 1982) (internal citation omitted).

       Plaintiff, however, seeks relief one step further than the cases cited above by

arguing not only that T.L. has a protected interest in interscholastic athletics but that he

has a constitutionally-protected interest in varsity athletics. See Compl. , p. 27 (asking

this court to “[d]eclare that students in Minnesota have a constitutionally protected right

to be eligible and participate in varsity athletics.” (emphasis added).

       Plaintiff’s reliance on this Court’s decision in J.K. v. Minneapolis Pub. Sch., 849

F.Supp.2d 865, 877 (D. Minn. 2011), is misplaced. J.K. speculated in non-precedential

dicta that, if presented with the issue, the Minnesota Supreme Court may find a property

right in extracurricular activities. See 849 F.Supp.2d at 877. Although there may not be a

Minnesota Supreme Court case on point, the Minnesota Court of Appeals has indicated


(1981); Morrison v. Roberts, 82 P.2d 1023, 1024-25 (Okla. 1938); Whipple v. Oregon
School Activities Association, 629 P.2d 384, 386 (Or. 1981); Pennsylvania Interscholastic
Athletic Association, v. Greater Johnstown School District, 463 A.2d 1198, 1201 (1983);
Bruce v. South Carolina High School League, 189 S.E.2d 817, 819
(1972); Tennessee Secondary School Athletic Association v. Cox, 425 S.W.2d 597, 602
(1968); Spring Branch I.S.D. v. Stamos, 695 S.W.2d 556, 561 (Tex. 1985); Starkey v.
Board of Education, 381 P.2d 718, 721 (Utah 1963); Bailey v. Truby, 321 S.E.2d 302,
315-16 (W. Va. 1984) (“Participation in extracurricular activities, including
interscholastic athletics, does not rise to the level of a fundamental or constitutional right
under . . . the West Virginia Constitution.”); see also Nieshe v. Concrete Sch. Dist., 127
P.3d 713 (Wash. Ct. App. 2005) (no property interest under the Washington Constitution
in attending graduation ceremony).

                                              8
     CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 9 of 23



that, under the Minnesota Constitution, that there is no property or liberty interest in

extracurricular activities. See Eason v. Indep. Sch. Dist. No. 11, 598 N.W.2d 414, 419

(Minn. App. 1999). It is particularly noteworthy that Eason cited this Court’s decision in

Peterson v. Independent School Dist. No. 811, 999 F.Supp. 665, 674 (D. Minn. 1998), for

the determination that there is “no property or liberty interest in a student’s participation

in extracurricular activities.” J.K. did not discuss or even cite to either Eason or Peterson

when undergoing its analysis of whether there exists a property right in extracurricular

athletics under the Minnesota Constitution.

       Instead, J.K. cited favorably a footnote in Thompson v. Barnes, a Minnesota

Supreme Court case which did not hold or suggest a constitutionally-protected property

right to participation in extracurricular activities (and certainly not a protected interest in

varsity athletics). J.K., 849 F.Supp.2d at 876. To the contrary, the Thompson footnote

merely stated that that particular issue had been rendered moot. See 200 N.W.2d 921, 926

n.11 (Minn. 1972). Any suggestion by Thompson that there exists a property right in

extracurricular activities was quashed by Eason.

       J.K. further emphasized the fact that the Thompson footnote cited to Kelley v.

Metro. Cnty. Bd. of Educ. Of Nashville, 293 F.Supp. 485 (M.D. Tennessee 1968), to

suggest a property right in extracurricular activities. See J.K., F.Supp.2d at 876-77. J.K.’s

citation to Kelley to suggest a property right in extracurricular activities is curious given

that directly prior to favorably citing Kelley—a federal case from a different circuit which

found a constitutionally protected property right under Tennessee law—J.K.



                                              9
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 10 of 23



acknowledged and then quickly disregarded the overwhelming majority of State and

Federal courts that have found no constitutionally protected property interest in

participating in extracurricular activities on the basis that: “they rel[ied] on other states’

law” or were determined “only under federal constitutional law.” See J.K., 849 F.Supp.2d

at 875. J.K. then favorably cited four cases which found a property right in

extracurricular activities based upon other states’ laws. Id. at fn.8. This inconsistent

reasoning underscores J.K.’s lack of persuasive authority.

       It is also worth noting that the property right in extracurricular activities issue was

not raised by either party in J.K. In fact, the Court noted that “[t]he parties seem to agree

that under the relevant rules of the Minnesota State High School League ("the League"),

if J.K. transfers to a school other than Southwest, he will not be able to participate in

varsity interscholastic sports during the upcoming year.” J.K., F.Supp.2d at 874.

Moreover, the Minnesota State High School League could not address the sua sponte

issue because the MSHSL was not a party to the J.K. case.

       If this Court does find Kelley persuasive, the facts of the case provide an important

context to distinguish it from the case at bar. The original action in Kelley was filed

against the Nashville City Board of Education in 1955 in an effort to desegregate its

schools. 293 F.Supp. at 487. At issue was the “suspension of Cameron High School, an

all Negro school, from interscholastic athletic competition for one year from April 4,

1968” following allegations of misconduct at a basketball game. Id. at 488. Although not

couched in explicit terms of “total exclusion,” Kelley effectively held that due process



                                             10
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 11 of 23



was violated because the school was totally excluded from interscholastic activities for

one year. See id. at 492 (holding the school’s “right to engage in secondary school

athletics” triggered minimal procedural due process protections). Kelley further

emphasized the fact that the suspension applied not only to basketball players but to

“participants in other sports, such as football, who had no connection with the events at

the tournament in question.” Id. at 495. Kelley is therefore factually and legally

distinguishable because, unlike the Cameron High School students in 1968, T.L. has not

been totally excluded from engaging in secondary school athletics. Moreover, his football

suspension was a result of his actions and not those of someone else.

       In this matter, despite repeated conduct violations, T.L. remains eligible under

MSHSL Bylaws to participate even during the pendency of his disciplinary suspension,

but not in competitions. see also Stead Aff., Ex. A, p. 33 – Bylaw 205.2(D) (student

eligible to participate in “[p]ractices, jamborees, inter-school scrimmages and previews”

while serving a penalty). Shakopee determined, however, that T.L. could not participate

at all on the football team. Moreover, Shakopee notified Plaintiff’s that T.L.’s suspension

was only for football, which is explicitly acknowledged in the August 29, 2013,

correspondence from Defendant Bezak to Plaintiffs: “this is not a complete loss of

eligibility for [T.L.] at this time.” Verified Compl. Attachment A.

       Because there is not a constitutionally protected property or liberty interest in

extracurricular varsity athletics, the facts submitted to this Court do not create a plausible




                                             11
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 12 of 23



claim for relief. Accordingly, Counts One and Five should be dismissed for failure to

state a claim.

       B.        The Complaint fails to allege facts showing that the bylaws are
                 unconstitutionally vague.

       The Bylaws at issue provide the MSHSL, and member-schools, with discretion to

address “unique eligibility situations and such discretion does not create a constitutional

violation.” H.R. v. Minn. State High Sch. League, 2013 U.S. Dist. LEXIS 5215, *10 (D.

Minn. Jan. 14, 2013 (citing Bethel Sch. District No. 403 v. Fraser, 478 U.S. 675, 686

(1986) (“Given the school’s need to be able to impose disciplinary sanctions for a wide

range of unanticipated conduct disruptive of the educational process, the school

disciplinary rules need not be as detailed as a criminal code which imposes criminal

sanctions”) (internal citation omitted); Burrows v. Ohio High Sch. Athletic Ass’n, 712

F.Supp. 620, 628 (S.D. Ohio 1988) (“The same degree of precision is not required of an

athletic bylaw that would be required of a criminal statute.”).

       The League’s Bylaws, including its eligibility requirements and penalties for

violations were readily available to T.L. prior to August 29, 2013. The League’s

Handbook, including the eligibility requirements is published online and available at the

MSHSL office during business hours. Stead Aff., ¶ 5. Moreover, pursuant to MSHSL

Bylaw 303.1, schools provide a copy of the Eligibility Information Brochure to students

“interested in participating in League-sponsored programs”, and Bylaw 303.3 requires

that member schools “read, discuss and explain the bylaws” to their student body. Stead

Aff., Ex. B, p. 50. In addition, Plaintiffs received and signed the “Eligibility Statement”


                                             12
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 13 of 23



each of the five years that T.L. has participated in interscholastic activities. Affidavit of

John Janke, ¶ 7; see also Janke Aff., Ex. A. Consequently, Plaintiffs not only had notice

of the eligibility and penalty bylaws, but they affirmed, in writing, that they understood

and agreed to abide by those Bylaws. Janke Aff., Ex. A.

       By signing the Eligibility Statement, Plaintiffs further acknowledged that they

understood that “local rules may be more stringent, and penalties more severe, than

MSHSL rules.” Janke Aff., Ex. A. The Eligibility Statement specifically emphasizes the

Student Code of Responsibilities in the middle of the page:

               STUDENT CODE OF RESPONSIBILITIES
   • As a student participating in my school’s interscholastic activities, I
     understand and accept the following responsibilities:
     − I will respect the rights and beliefs of others and will treat others with
        courtesy and consideration.
     − I will be fully responsible for my own actions and the consequences of
        my actions.
     − I will respect the property of others.
     − I will respect and obey the rules of my school and the laws of my
        community, state, and country.
     − I will show respect to those who are responsible for enforcing the rules
        of my school and the laws of my community, state and country.

Id. (emphasis in original). Immediately after this, the Eligibility Statement provides the

following:

       A student whose character or conduct violates the Student Code of
       Responsibilities or is suspended or expelled is not in good standing and
       is ineligible for a period of time as determined by the principal. . . .

Id. (emphasis in original).

       T.L. and at least one parent or guardian signed the Eligibility Statement on

November 10, 2009; on November 17, 2009; on July 7, 2011; on August 10, 2012; and

                                             13
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 14 of 23



most recently on July 18, 2013. Janke Aff., Ex. A. The facts show that Plaintiff and his

parents not only had clear notice, but explicitly acknowledged an understanding and

acceptance of the expectations T.L. was required to abide by in order to retain eligibility

as well as the possible penalties. The Eligibility Statement signed by Plaintiffs

specifically recited Bylaw 206.3’s provision that the determination is up to the school:

“ineligible for a period of time as determined by the principal.” Id. (emphasis added).

Moreover, the Eligibility Statement unambiguously states that “local rules may be more

stringent, and penalties more severe, than MSHSL rules.” Id.

       Plaintiff has failed to allege facts sufficient to prove that Bylaw 206 is

unconstitutionally vague. Accordingly, Plaintiffs could not have a reasonable expectation

of eligibility. See H.R. v. Minn. State High Sch. League, 2013 U.S. Dist. LEXIS 5215 at *10-12

(holding that student could not have reasonable expectation of eligibility based on

discretionary provisions of the MSHSL’s Bylaws).

       The Complaint contains nothing more than the “threadbare recitals of the elements

of a cause of action supported by mere conclusory statements” rejected by the Supreme

Court in Iqbal. 129 S. Ct. at 1964-65. The Student Code of Responsibilities

unambiguously requires that a student must be courteous and respectful to others,

particularly “those who are responsible for enforcing the rules of my school and the laws

of my community, state and country.” The Bylaws state, and the Eligibility Statement

reinforces, the League’s policy that the ineligibility determination is “determined by the

principal” and can be “more severe than MSHSL rules.” See Stead Aff., Ex. A, p. 35



                                             14
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 15 of 23



(Bylaw 206.3 – “certain conduct requires penalties that may exceed those penalties

typically imposed”; see also Janke Aff., Ex. A (Eligibility Statement – “local rules may

be more stringent, and penalties more severe, than MSHSL rules”). T.L. is an 11th grade

student at SHS who said “fuck you” to both the football coach and the Activities

Director, left the room, slammed and broke a SHS door, and then kicked over garbage

cans as he left. Such conduct is not “treat[ing] others with courtesy and consideration”;

not “respect[ing] the property of others”; and is certainly not “show[ing] respect to those

who are responsible for enforcing the rules of my school.” Janke, Ex. A. This is precisely

the type of behavior that is best addressed by the school at the local level and is why the

MSHSL has made a deliberate decision not to get involved with school-level disciplinary

decisions.

       Bylaw 206.3 gives sole authority for determining student eligibility to the school

principal who is in the best position to act. Stead Aff. Ex. A, p. 35. The principal’s

authority extends to the determination of the length of ineligibility. Accordingly,

Plaintiff’s allegation that “[t]here is nothing in the League rules that identify a suspension

from athletics for an entire season, an indefinite suspension with additional conditions

prior to resuming athletics, or the requirement of a Participation Behavioral Agreement

prior to the resumption of participation in athletics” is without merit. The local school has

the exclusive discretion to determine appropriate penalties for the students that represent

its school in interscholastic activities. The MSHSL reinforces the school’s ability to




                                             15
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 16 of 23



determine the eligibility of its students for behavioral issues by removing such decisions

from the League’s Fair Hearing Process.

       The facts alleged in the Complaint demonstrate that Plaintiffs had notice of the

League’s Bylaws on or before August 2013 and acknowledged in writing that they

expressly understood and agreed to abide by Shakopee’s local rules and the League’s

Bylaws. Several meetings were held between Shakopee administrators and the Plaintiffs

where Plaintiffs were given a chance to explain their side of the story—specifically, an

August 26 meeting where the parents were present. In short, Plaintiffs had explicit notice

of the expectations for participation, the penalties for violations, and the inability of the

MSHSL to intervene. Because there is no recognized protected property or liberty interest

in extracurricular varsity athletics and because the facts show that T.L. was given ample

notice and opportunity to respond, Plaintiff has failed to state a claim for due process

violations against the MSHSL and David Stead and Counts One and Five should be

dismissed.

       C.     Plaintiff has No Cause of Action Under Minn. Stat. § 128C.03.

       Minn. Stat. § 128C.03 does not create a civil cause of action. See Flour Exch.

Bldg. Corp. v. State, 524 N.W.2d 496, 498 (Minn. App. 1994) (“A statute does not give

rise to a civil cause of action unless the language of the statute is explicit or it can be

determined by clear implication.”). There is no explicit language in Minn. Stat. §

128C.03 creating a civil cause of action. Furthermore, there is no clear implication




                                             16
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 17 of 23



creating a civil cause of action. To the contrary, rather than imply a civil cause of action,

the Legislature created an express administrative remedy.

       Plaintiff cannot plead facts sufficient to meet the test for an implied cause of

action. To have an implied cause of action, a plaintiff must prove: (i) that plaintiff

belongs to a class the statute intended to benefit; (ii) that the Legislature intended to

create or deny a remedy; and (iii) whether implying a remedy is consistent with

Legislative enactment. Flour Exch. Bldg., 524 N.W.2d at 499.

       Even if Plaintiff belongs to a class the statute intended to benefit, he has not

alleged facts showing that he has met the statute’s express standing requirement that “100

or more parents or guardians of students” request a public hearing. See Minn. Stat. §

128C.03. Moreover, the Legislature’s express intent was not to create a judicial remedy

but an administrative remedy. As a result, Plaintiffs have failed to exhaust their

administrative remedies in this matter and implying a civil cause of action under §

128C.03 is inconsistent with its Legislative enactment. See Touche Ross & Co. v.

Redington, 442 U.S. 560, 570-71 (1979) (“Implying a private right of action on the basis

of congressional silence is a hazardous enterprise, at best.”). Count Six must be

dismissed.

       Assuming arguendo that Minn. Stat. § 128C.03 creates a civil cause of action,

Plaintiff has not alleged facts to support his claim. Plaintiff misunderstands the plain

language of Minn. Stat. § 128C.03, which requires that the League “adopt procedures to

ensure public notice of all eligibility rules and policies that will afford the opportunity for



                                              17
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 18 of 23



public hearings on proposed eligibility rules.” (emphasis added). The League has adopted

procedures to ensure public notice of proposed eligibility rules. The function of the

League’s Representative Assembly “is to consider all bylaw proposals.” Stead Aff., Ex.

D, p. 121. The Representative Assembly Process is set forth in Stead Affidavit, Exhibit

H. Meetings of the Representative Assembly are posted publicly and open to the public.

Stead Aff., ¶ 8.

       Minn. Stat. § 128C.03 was adopted by the Legislature to ensure public notice of

changes or additions to eligibility rules. Plaintiff has made no allegation that “proposed

eligibility rules” have not been publicly noticed or subject to public hearings. To the

contrary, Defendants MSHSL and Stead have submitted minutes from the November 7,

1991, public meeting of the Representative Assembly where the original version of

Bylaw 206 was approved. Stead Aff., Ex. H; ¶ 22. The original language provided:

       In order to be eligible for regular season and MSHSL tournament
       competition, a student must be a bona fide undergraduate member of his or
       her school in good standing. A student . . . whose character or conduct
       violates the Student Code of Ethics is not in good standing and is ineligible
       for a period of time as determined by the principal.

Stead Aff., Ex. F (emphasis added). The Representative Assembly consists of three

school representatives from each of the League’s 16 Administrative Regions and the

President of the Board of Directors. The Representative Assembly is the legislative body

of the MSHSL, which meets annually to “consider all bylaw proposals . . . and to accept

or reject them as a part of the Activity Bylaws of the League.” Stead Aff., ¶ 8; see also

Ex. D (MSHSL Constitution § 210.00 et seq.). The meeting of the Representative



                                            18
      CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 19 of 23



Assembly is posted publicly and is open to the public. Stead Aff., ¶ 8; see also Ex. H

(describing the Representative Assembly process).

       Accordingly, Plaintiff has not alleged facts sufficient to support its claim regarding

Minn. Stat. § 128C.03 and Count Six must be dismissed.

II.    THE COMPLAINT FAILS TO ALLEGE AN IMMINENT INJURY IN FACT THAT MAY
       BE REDRESSED BY PROSPECTIVE RELIEF IN EQUITY

       Plaintiff’s Complaint prays for an injunction, enjoining the MSHSL from

prohibiting Plaintiff from participating in MSHSL activates. In order to maintain a claim

to prospective relief in equity, Plaintiff must have standing for such a claim. If the

plaintiff lacks standing, the Court lacks subject matter jurisdiction. See Enright v.

Lehmann, 735 N.W.2d 326, 329 (Minn. 2007). To have standing, the plaintiff must have

an “injury in fact”-a harm that is both “concrete” and “actual or imminent, not conjectural

or hypothetical.”   Hanson v. Woolston, 701 N.W.2d 257, 262 (Minn. App. 2005)

(quoting Whitmore v. Arkansas, 495 U.S. 149, 155, 110 S. Ct. 1717, 1723, 109 L.Ed.2d

135 (1990) (quotation and citation omitted); accord Twin Ports Convalescent, Inc. v.

Minn. State Bd. of Health, 257 N.W.2d 343, 346 (Minn. 1977). A potential litigant must

also demonstrate a fairly traceable connection between the alleged injury-in-fact and the

defendant's alleged conduct and a substantial likelihood that the requested relief will

remedy that injury-in-fact. Id. (citing Vt. Agency of Natural Resources v. United States

ex rel. Stevens, 529 U.S. 765, 771, 120 S. Ct. 1858, 1861-62, 146 L.Ed.2d 836 (2000)).

The Minnesota Supreme Court has long held that merely possible or hypothetical injury




                                             19
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 20 of 23



is not enough to satisfy this standard. State v. Colsch, 284 N.W.2d 839, 841-42 (Minn.

1979).

                              Standing for Injunctive Relief

         The Minnesota Supreme Court indicated the standing necessary for injunctive

relief in AMF Pinspotters v. Harkins Bowling, Inc. when it held that an injunction will

not issue to prevent an imagined injury which there is no reasonable ground to fear.

AMF Pinspotters, Inc. v. Harkins Bowling, Inc., 260 Minn. 499, 504, 110 N.W.2d 348,

351 (1961) (emphasis added) (citations omitted). The threatened injury must be real and

substantial. Id. The apprehension of injury must be well-grounded, which means that

there is a reasonable probability that a real injury for which there is no adequate remedy

at law will occur if the injunction is not granted. Marriage of Geske v. Marcolina, 642

N.W.2d 62, 68 (Minn. App. 2002) (emphasis in original). Injunctive relief should be

awarded only in clear cases, reasonably free from doubt, and when necessary to prevent

great and irreparable injury. AMF Pinspotters, Inc., 260 Minn. at 504, 110 N.W.2d at

351. The remedy of an injunction looks only to the future; it cannot be invoked for the

purpose of punishment for wrongful acts already committed. Minneapolis & St. L. Ry.

Co. v. Pacific Gamble Robinson Co., 181 F.2d 812, 814 (8th Cir. 1950). “Past exposure

to illegal conduct does not in itself show a present case or controversy regarding

injunctive relief…if unaccompanied by any continuing, present adverse effects.” O'Shea

v. Littleton, 414 U.S. 488, 495-496, 94 S. Ct. 669, 676 (1974).




                                            20
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 21 of 23



                                    Procedural Standard

       A motion to dismiss for lack of subject matter jurisdiction may challenge the

plaintiff's complaint either on its face or on the factual truthfulness of its averments. See

Titus v. Sullivan, 4 F.3d 590, 593 (8th Cir. 1993); see also Osborn v. United States, 918

F.2d 724, 729 n.6 (8th Cir. 1990). In a factual challenge to jurisdiction, the Court may

consider matters outside the pleadings and the non-moving party does not benefit from

the safeguards of the normal motion to dismiss for failure to state a claim standard. See

Titus, 4 F.3d 590 at 593; Osborn, 918 F.2d at 729 n.6. "In short, no presumptive

truthfulness attaches to the plaintiff's allegations, and the existence of disputed material

facts will not preclude the trial court from evaluating for itself the merits of jurisdictional

claims. Moreover, the plaintiff will have the burden of proof that jurisdiction does in fact

exist." Osborn, 918 F.2d at 730 (citing Mortensen v. First Fed. Sav. & Loan Ass'n, 549

F.2d 884, 891 (3d Cir. 1977)).

       In a facial challenge to jurisdiction, the Court restricts its review to the pleadings

and affords the non-moving party the same protections that it would receive under a Rule

12(b)(6) motion to dismiss. See Osborn, 918 F.2d at 729 n. 6. The court presumes that

all of the factual allegations in the complaint concerning jurisdiction are true and will not

dismiss the claims unless the plaintiff fails to allege an essential element for subject

matter jurisdiction. See Titus, 4 F.3d at 593 (citing Eaton v. Dorchester Dev., Inc., 692

F.2d 727, 731-32 (11th Cir. 1982)); Osborn, 918 F.2d at 729 n.6.




                                              21
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 22 of 23



       Essentially, to make out a claim to standing for prospective relief in equity in the

nature of a mandatory injunction, Plaintiff must allege facts that tend to show that the

MSHSL is threatening Plaintiff’s claimed legally protected interest to participate in

extracurricular sports within Anoka-Hennepin. As already noted, Plaintiff has failed to

allege facts tending to show any involvement of the MSHSL whatsoever, even with

regard to a retrospective injury. The Complaint fails to come anywhere close to alleging

that the MSHSL has threatened to visit a future injury in fact upon Plaintiff. Therefore,

Plaintiff’s prayer for a mandatory injunction against the MSHSL must be dismissed for

lack of subject matter jurisdiction.

                                       CONCLUSION

       The instant Complaint, at least regarding the allegations against the MSHSL,

contains nothing more than a “the-defendant-unlawfully-harmed-me accusation.” The

Complaint alleges in Count One that “Defendants acted with intent to violate T.L.’s

constitutional rights . . . and deliberately deprived T.L. of his civil rights guaranteed by

the Fourteenth Amendment to the United States Constitution by depriving him of his

property interest in his athletics without resort to any due process.” Compl., at ¶¶ 61-62.

Plaintiff fails, however, to allege any involvement on the part of the MSHSL in any such

alleged deprivation. The Complaint similarly alleges in Count Five that “defendants acted

with intent to violate T.L.’s constitutional rights . . . [and] intentionally and deliberately

deprived T.L. of his civil rights to due process” but again fails to allege facts showing any

involvement whatsoever of the MSHSL in the alleged due process violation. Compl., at



                                             22
    CASE 0:13-cv-02739-SRN-FLN Document 43 Filed 10/30/13 Page 23 of 23



¶¶ 88-89. Plaintiff has not even alleged facts that show the mere possibility of misconduct

on the part of the MSHSL, to say nothing of stating a plausible claim for relief against the

MSHSL. As such, the claims against the MSHSL must be dismissed with prejudice.

       Based upon the foregoing points and authorities, Defendants Minnesota State High

School League and David Stead pray the Court dismiss the Complaint for failure to state

a claim upon which relief can be granted, or alternatively, dismiss Plaintiff’s prayer for

prospective relief in equity for lack of subject matter jurisdiction.



Dated: October 30, 2013                        KELLY & LEMMONS, P.A.


                                               /s/ Kevin M. Beck
                                               Patrick J. Kelly (#54823)
                                               Kevin M. Beck (#389072)
                                               Joseph A. Kelly (#389356)
                                               223 Little Canada Rd, #200
                                               Little Canada, MN 55117
                                               (651) 224-3781
                                               F: (651) 223-8019

                                               Attorneys for Defendants MSHSL
                                               and David Stead




                                              23
